This case has been here before, and a reference to the opinion in People v. Fons, 223 Mich. 603, *Page 178 
will make a long statement of facts unnecessary. Upon a second trial the defendant was convicted of keeping a place where intoxicating liquors were sold. He has brought the case into this court by exceptions before sentence, insisting the trial judge should have directed a verdict in his favor, citingPeople v. Woodhouse, 223 Mich. 608. A reference to the last named case will show it is easily distinguishable from the instant case.
The law which should govern the case upon a second trial was clearly stated in this court when the case was reversed. The trial judge followed the course directed.
The verdict is affirmed and the case is remanded for further proceedings.
CLARK, C.J., and McDONALD, BIRD, SHARPE, STEERE, FELLOWS, and WIEST, JJ., concurred.